From:                 Chollet, Bert
To:                   reid.leitner@reidleitnerlaw.com
Cc:                   Caputo, Chris
Subject:              RE: Wonder Porcelain / Neely Engineering
Date:                 Tuesday, May 12, 2020 1:13:49 PM


Reid,

Good afternoon. I am circling back on Wonder’s May 4 agreement to mediate and suggestion of
mediators. Please advise as to Neely’s position concerning the non-binding mediation and selection
of a mediator.

Thank you,

Bert


Albert L. Chollet III, Of Counsel
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
Baker Donelson Center
211 Commerce Street, Suite 800
Nashville, Tennessee 37201
Phone: (615) 726-5741
Email: achollet@bakerdonelson.com
www.bakerdonelson.com

           From: Chollet, Bert
           Sent: Wednesday, May 6, 2020 4:53 PM
           To: 'reid.leitner@reidleitnerlaw.com' <reid.leitner@reidleitnerlaw.com>
           Cc: Caputo, Chris <ccaputo@bakerdonelson.com>
           Subject: RE: Wonder Porcelain / Neely Engineering

           Reid,

           Please see attached correspondence on behalf of Wonder Porcelain.

           Regards,




           Albert L. Chollet III, Of Counsel
           Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
           Baker Donelson Center
           211 Commerce Street, Suite 800
           Nashville, Tennessee 37201
           Phone: (615) 726-5741
           Email: achollet@bakerdonelson.com
           www.bakerdonelson.com

                   From: Chollet, Bert



                                EXHIBIT
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                                    Filed 06/10/20 Page 1 of 3 PageID #: 87
         Sent: Monday, May 4, 2020 12:41 PM
         To: 'reid.leitner@reidleitnerlaw.com' <reid.leitner@reidleitnerlaw.com>
         Cc: Caputo, Chris <ccaputo@bakerdonelson.com>
         Subject: RE: Wonder Porcelain / Neely Engineering

         Reid,

         In response to your client’s demand for a non-binding mediation, Wonder Porcelain
         will agree to a mediation in Nashville in an effort to resolve the matter on mutually
         agreeable terms prior to pursuing litigation or any other dispute resolution.

         I will need to review with my client for approval, but would you be willing to
         recommend either Jim Kay or Tracy Shaw to your client?

         Bert




         Albert L. Chollet III, Of Counsel
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
         Baker Donelson Center
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         Nashville, Tennessee 37201
         Phone: (615) 726-5741
         Email: achollet@bakerdonelson.com
         www.bakerdonelson.com

                 From: Chollet, Bert
                 Sent: Friday, May 1, 2020 5:29 PM
                 To: 'reid.leitner@reidleitnerlaw.com' <reid.leitner@reidleitnerlaw.com>
                 Cc: Caputo, Chris <ccaputo@bakerdonelson.com>
                 Subject: Wonder Porcelain / Neely Engineering

                 Reid,

                 Please see attached concerning the referenced matter.

                 Thank you,

                 Bert


                 Albert L. Chollet III, Of Counsel
                 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
                 Baker Donelson Center
                 211 Commerce Street, Suite 800
                 Nashville, Tennessee 37201
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Case 3:20-cv-00415 Document 12-3 Filed 06/10/20 Page 3 of 3 PageID #: 89
